10/14/22,11:14 AM       Case 5:20-cr-00240-F         Document
                                 About- Philip Matuslak              250-1
                                                        Cyber Forensics          Filed
                                                                        Investigation    10/14/22
                                                                                      Application        Page
                                                                                                  Developer      1 ofProfessional
                                                                                                            Technical  18         Trainer



                ^ 954-657-1018                       philip(a)philpmatusiak.com                        Home                 "gf About




         Philip M. Matusiak
          Cyber Intelligence Investigation
          Computer Forensic
          Cloud Developer
          Programmer
          Technical Trainer
          Adjunct Instructor




          Education

                 Concordia, Computer Science
                 Ivy Tech College, Industrial Technology
                 AIB College of Business, IBM AS/400 Technician Program
                 Current Technologies Computer Learning Center, MCSE
                 Microsoft, Adobe and Amazon Web Services Vendor Education Centers
                 United States Marine Corps Institute




         Professional Experience

                 DRM Development Inc., President, Consultant and Developer,1995- Present
                 Speckin Forensics, Computer Forensics Analyst,2014- Present
                 ONLC Wilmington DE,Technical Trainer, 2014- Present
                 Ames Computer Learning Center, Owner,2007 - 2014
                 Des Moines Area Community College, Adjunct Instructor,2002 - 2007
                 New Horizon Computer Learning Center Des Moines, lA 1998- 2002
                 United State Marine Corps, Honorable Discharge
                 Board Recognized Cyber Intelligence Investigator
                 State of Michigan Court Expert Witness Testimony in Digital Forensics




                                                                                                                   EXHIBIT 1
                                                                                                          Page 1 of 18 pages
https://phllipmatuslak.com/about/                                                                                                           1/6
10/14/22,11:14 AM       Case 5:20-cr-00240-F          Document
                                 About - Philip Matuslak              250-1
                                                         Cyber Forenslcs          Filed
                                                                         Investigation    10/14/22
                                                                                       Application        Page
                                                                                                   Developer      2 ofProfessional
                                                                                                             Technical  18         Trainer




          Certification

              o Microsoft Certified Professional (25+ Years)
             o   CIW Certified Professional, Web and Internet (20+ Years)
             o   CIW Certified Associate, Web Development(20+ Years)
             o   CIW Certified Technical Trainer (20+ Years)
             o   IBM Certified Specialist (20+ Years)
             •   Comptia l-Net+ Security (20+ Years)
             o   Leviton Fiber Optic and Voice Certified Installer (10+ Years)




          Professional Associations And Memberships

              « Association for Computer Machinery
              o Association of Talent Development
              o The American Society of Digital Forensics and eDiscovery




         Professional Development

         *Not a complete list of professional development

             o   Ml, Cryptocurrency Forensics Investigation, 2022(ongoing)
             ®   Ml, Cyber Intelligence Investigation, 2021
             »   CaseAware Legal Software Conference,2014
             ®   Misys Healthcare Software Conference,2008
             •   United States Marine Corps, Staff NCO Academy Graduate, Quantico, VA,1999
             o   United States Marine Corps, NCO Academy Graduate,Joplin, MO,1998
             o   United States Marine Corps, School of Infantry




          Military Development And Honors

                                                                                                                    EXHIBIT 1
              » United States Marine Corps, Personal Administration (7104F)
https://phtlipmatusiak.com/about/
                                                                                                           Page 2 of 18 pages                2/6
10/14/22,11:14 AM       Case 5:20-cr-00240-F          Document
                                 About - Philip Matusiak              250-1
                                                         Cyber Forensics          Filed
                                                                         Investigation    10/14/22
                                                                                       Application        Page
                                                                                                   Developer      3 ofProfessional
                                                                                                             Technical  18         Trainer
              o   United States Marine Corps, Military Justice (7105F)
              o   United States Marine Corps, Drills and Inspections(7108E)
              o   United States Marine Corps, Tactical Communications(7103)
              o   United States Marine Corps, History (7109B)
              o   United States Marine Corps, Military Training (7107C)
              o Marine Corps Institute
                     « Nuclear Biological and Chemical Warfare Measures
                     • Battle Skills Weapons
                     o Metallurgy (Metal Working Construction / Engineering)
                     <» CAD,Computer Aided Design
                     o Personal Finance
                     o Leadership Fundamentals
                     o Supply Management
              « United States Army, Achievement in Outstanding Sciences
                     o Presented by Lieutenant General Louis C Wagner Jr, Deputy Chief of Staff for Research,
                       Development and Acquisition




          Honors And Awards

         *Not a complete list of honors and awards

              o Excellence In Database Administration,2003
              o United States Marine Corps, Selected Marine Corps Reserve Metal,1999
              o United States Marine Corps, Commendation,Operation Rolling Thunder,1997
              ® United States Marine Corps, National Defense Metal, Desert Shield, Enduring Freedom,1993
              o National Science Olympiad Guest Contributor,1992
              ® United States Marine Corps, Rifle Sharpshooter (5+ Years)
              o United States Marine Corps, Pistol Sharpshooter (5+ Years)
              o Purdue University North Central, Achievements in the Biological and Life Sciences
              o Purdue University North Central, Achievements in Botany
              o Indiana House of Representatives Certificate of Appreciation
                     ® Presented by Ralph D. Ayres, State Representative




         Professional Activites

         *Not a complete list of professional activities.

              « Guest Lecture (Accounting), Rutgers University
              o Guest Lecture (Accounting), Fayetteville State University
              o Guest Presenter /Trainer (Angular lO), Halliburton, Houston,TX
              ® Chairman, Marine Corps Birthday Ball 2012
              o Soeaker (IT Securitvl. Midwest E-Business Conference. Ames. lA 2011
                                                                                                                    EXHIBIT 1
                                                                                                           Page 3 of 18 pages
https://philipmatuslak.com/about/                                                                                                            3/6
10/14/22,11:14 AM       Case 5:20-cr-00240-F          Document
                                 About - Philip Matusiak              250-1
                                                         Cyber Forensics          Filed
                                                                         Investigation     10/14/22
                                                                                       Application        Page
                                                                                                   Developer       4 ofProfessional
                                                                                                             Technical   18         Trainer




          Civil And Criminal Forensics And Investigations

         *Not a complete list of casework,samples of civil and criminal dockets. Redaction of case names when
         applicable.




              o Expert Witness Testimony, State of Michigan v. Redacted
                     ® Public Intoxication,forensics analysis of police dash cam video and testimony as expert witness in
                        Michigan Court of Law
              o Network/Email Analysis, International Corporate, US,China and Nigeria ,
                     ® Examination and network tracking of compromised emails leading to million-dollar+ fraud of
                        international auto parts organization
              o Crime Scene and Video Enhancement,State of Ohio v. Redacted
                     « Ohio murder trial in which case involved various aspects of crime scene video and height analysis
                       of suspects in area. Casework also involved validation of camera date/time stamps
              o Expert Witness Examination, Michigan Family Court Matter
                     o Casework involved audio and video examination and data analysis (meta data) of accused
                       individual involving mature videos possibly being displayed to underage children
              o Forensics Investigation, Higher Education University, State of Michigan
                     o Investigation and analysis of student device and suspected submission of false online
                        examinations

              « Expert Witness Examination Police Dash Cam Video,State of Michigan v. Redacted
                     o Case involved a police chase with fleeing suspect. Analysis of police dash cam video to identify
                       suspect fleeing and suspect height and investigation of engineering specifications of suspected
                        vehicle

              o Civil Case, Auto Parts Manufacturer, Broward County, Florida
                     « Casework involved web site and public defamation of character, tracking of data sources of
                        information and published time frame of data in cloud.
              o United States Bankruptcy Court In Re: Debtor Redacted
                     o Casework involved data sciences and analysis of 2.3 million+ pages of pdf documents,1.2
                       Terabytes+ data, and 100+ provided data analysis groups in Microsoft Excel.




          Forensics And Application Proficiency Levels

         *Not a complete list of forensics and application proficiency levels

                                                                                                                     EXHIBIT 1
                                                                                                            Page 4 of 18 pages
https://philipmatuslak.com/about/                                                                                                             4/6
10/14/22,11:14 AM       Case 5:20-cr-00240-F          Document
                                 About - Philip Matusiak              250-1
                                                         Cyber Forensics          Filed
                                                                         Investigation    10/14/22
                                                                                       Application        Page
                                                                                                   Developer      5 ofProfessional
                                                                                                             Technical  18         Trainer


              o   Adobe Photoshop,Illustrator {30+ Years)
              »   Intuit Quickbooks(Accounting and Product Integration)(30+ Years)
              o   Microsoft Windows,Server,SQL Server, IIS Server, ASP (30+ Years)
              o   Microsoft Word, Excel, PowerPoint, Access, Outlook (25+ Year)
              o   Microsoft Visio, ASP.Net(20+ Years)
              o   Adobe Dreamweaver, Fireworks, Acrobat(20+ Years)
              o   Python,Java, Angular,Selenium Testing, Google Analytics(10+ Years)
              o   SysTools Forensics Toolkits, Metadata Toolkits(10+ Years)
              o   Amazon AWS Cloud Infrastructure and Security, Microsoft Azure (10+ Years)
              o   Harris Data (Accounting and Manufacturing)(10+ Years)
              o FTK Forensics Toolkit (5+ Years)
              o Misys Healthcare (5+ Years)
              o Epic Healthcare (Audit Logging)(2+ Years)




          Publications And Media

         *Not a complete list of publications and media




                  Professional Development Media Series
                     ® Administrative Support
                     » Anger Management
                     o Assertiveness and Self-Confidence
                     » Basic Bookkeeping
                     « Budgets and Financial Reports
                     o Business Ethics
                     o Business Writing
                     ® Digital Citizenship
                     « Internet Marketing Fundamentals
                     « Negotiation Skills
                     o Talent Management
                     o Train the Trainer
                     o Virtual Team Building and Management
                     o Workplace Diversity
                     o Workplace Violence




                                                                       Kit
                                                                                                                    EXHIBIT 1
                                                                                                           Page 5 of 18 pages
https://phllipmatuslak.com/about/                                                                                                            5/6
10/14/22,11:14 AM       Case 5:20-cr-00240-F         Document
                                 About- Philip Matuslak              250-1
                                                        Cyber Forensics          Filed
                                                                        Investigation    10/14/22
                                                                                      Application        Page
                                                                                                  Developer      6 ofProfessional
                                                                                                            Technical  18         Trainer
                                                                       ivi tvicscudiars




                                                             Certified Technical Trainer
                                                            Computer Forensics Analyst
                                                              Application Developer




                                    Phone: 954-657-1018               Email: philip@philipmatusiak.com




                                                       Copyright © 2022 Philip Matuslak




                                                                                                                   EXHIBIT 1
                                                                                                          Page 6 of 18 pages
https://philipmatusiak.com/abouf/                                                                                                           6/6
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 7 of 18




                                  Summary of Expert
                                   Philip Matusiak



Expert Summary

      Mr. Matusiak will provide expert testimony regarding the following:

              Significance ofIP Addresses and how they relate to a physical address.

              The history and significance ofthe IP Address login history generally and as
              provided by the government.

              How IP Addresses are affected during a remote login.

              How emails are sent and received by Google.

              That email accounts can forward the receipt of future emails to a separate
              email account.


              To his knowledge and experience with Google's document retention policy.

              To his knowledge of Google's document retention policy as it relates to
              deleted emails.


Documents Reviewed in Preparation of Testimony

Mr. Matusiak reviewed the following documents and information when forming his
opinions:

  • The documents produced by the government via Google subpoena
  • The May 3, 2022 emails between Courtney Wells and Chris Mayes
  • The ten (10) emails found in the Purple Folder between Andy Elliott and Coumey
      Wells
  • The remote login system for Oklahoma Motorcars and Native Harvest




                                                                              EXHIBIT 1
                                                                     Page 7 of 18 pages
         Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 8 of 18




Andrew Peters
(405)261-9517



 Employment                                           Certifications
 ALIAS                                                     Exterro - ACE-AccessData Certified Examiner
 Security Engineer II, 2022                               Microsoft- MTA 98-349- Windows Operating
 Digital Forensics, Security & Incident Response          System Fundamentals
                                                           Federal Communications Commission -
 Associate Security Engineer, 2021                        Technician Class Amateur Radio Operator License
 Digital Forensics, Security & Incident Response



 Education                                            Experience and Skills
 University of Central Oklahoma                           5 years' experience in Information
 Computer Science and Digital Forensics                   Technology
 2019- Present                                            Digital Forensics Services in over 25 cases
 Relevant Courses                                         Performed services in over 5 homicide
 Introduction to Forensic Science                          cases

 Digital Evidence                                          Performed services in multiple cellular
 Crime Scene Processing                                    location data cases
 Computer Organization and Architecture                    Over 12 incident response and
                                                           remediation cases
 Eastern Oklahoma County Technology Center                 Data Recovery
 Computer repair. Networking, Cybersecurity &.             Imaging and analysis on Windows, Mac
 Digital Forensics.                                        and cellular devices.
 2017-2019                                                 Unlocking encrypted devices
                                                           RAM captures and analysis
                                                           Cloud acquisitions
 Talks and Presentations                                   On site data collection
                                                           Expertise in proper handling and
                                                           collection of digital evidence
    •     Digital Forensics 101- Rose State College
         - February 2022




 Case Highlights
         State of Oklahoma Vs. Brian McMahon




                                                                                          EXHIBIT 1
                                                                                 Page 8 of 18 pages
        Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 9 of 18



                                   Summary of Expert
                                      Andrew Peters



Experience

       Mr.Peters has a long history and work experience in information technology, digital
forensics, unlocking encrypted devices, and cloud acquisitions. He has training by taken
college classes in computer networking, cybersecurity, digital forensics, digital evidence,
computer organization and architecture, computer science and digital forensics.

Expert Summary

       Mr. Peters will provide expert testimony regarding the following:

               Significance ofIP Addresses and how they relate to a physical address.

               The history and significance ofthe IP Address login history generally and as
               provided by the government.

               How IP Addresses are affected during a remote login.

               How emails are sent and received by Google.

               That email accounts can forward the receipt of future emails to a separate
               email account.


               To his knowledge and experience with Google's document retention policy.

               To his knowledge of Google's document retention policy as it relates to
               deleted emails.


Documents Reviewed in Preparation of Testimony

Mr.Peters reviewed the following documents and information when forming his opinions:

   • The documents produced by the government via Google subpoena
   • The May 3, 2022 emails between Courtney Wells and Chris Mayes
   • The ten (10)emails found in the Purple Folder between Andy Elliott and Coumey
       Wells
   • The remote login system for Oklahoma Motorcars and Native Harvest




                                                                               EXHIBIT 1
                                                                      Page 9 of 18 pages
            Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 10 of 18
                 Case 5:20-cr-00240-F Document 227-9 Filed 06/17/22 Page 1 of 3



                                                              Please Direct Correspondence & Payment Here:
                       260I CooLiooe Road, Suite 2oa             no E. Broward Boulevard, Suite I700
                        East Lansino, Michioan 46823               Fort Laudcrdale, Florida 3330I
                      9I7-349-3B2S                                  954-763-6134

                                                        www.4N6.coM


    Leonard A. Speckin                                 Erich J. Speckin                           Richard L. Brunellc
      RETtian DOCUMENT ANALYST                     FORENSIC DOCUMENT ANALYST                      RCnRCO INK BATINO CONSULTANT
                                                      INXOATINOaTOAUST
       Michaei. J. Sinke
                                                                                             Dr. Laurence R. Simson M.D.
    Renneo latent print specialist
                                                Roger J. Bolhouse MBA                             RETtRCO FORENSIC PATHOLOGIST
                                                        LABORATORY D«ECTOR
 RrriRCD CRtKC SCENE RECONSTRUCTION
                                                   CRIME SCENE RECONSTRUCTION                      Anthony A. Milone
  RETIRED FORENSIC DOCUMENT ANALYST
                                                  FORENSIC ANALYST & CONSULTANT                  COMPUTER & GRAPNICS SPCOAUST

     Robert O. Kullhan                                                                           Dr. Julie Howenstine
  RETtRCO FORENSIC DOCUMENT ANALYST              Thomas K. Huard Ph.D.
                                                    DNA ANALYST & CONSULTANT                              SEROLOOtST
                                                                                                   ONA ANALYST S CONSULTANT
Dr. Georoe F. Jackson Ph.D.
            TOXICOLOOIST                                Terry Nadeau                              CRIME SCENE RECONSTRUCTION
                                                        ARSON INVESTIGATOR




                                                   ERICH J. SPECKIN


                                              Forensic Document Analyst
                                                 Ink Dating Specialist

  EXPERIENCE
  • Employed with Speckin Forensic Laboratories -1993- Present
  President -1999-Present


  EDUCATION
  • Purdue University at age 15 to study engineering
  • Albion College at age 17 to study biology and pre-medical
  • Michigan State University graduated with a degree in Chemistry(1995)

  FORENSIC
  TRAINING
  • Two year residency with Leonard A. Speckin in the examination of questioned
  Documents(1993-1995)
  • One year residency with Brunelle Forensic Laboratories in the identification and
  dating of inks(1995-1996)

  PUBLICATIONS
  Thirteen scientific papers and publications authored or co-authored including:

  1)Obverse-Reverse Intersection of Lines, 1993 Midwestern Association of Forensic Scientists and 1996
  American Society of Questioned Document Examiners

  2)Chemicai Removal of Magic Marker on Photocopied Documents, 1995 American Society of Questioned
  Document Examiners


  3)A Private Examiner's Response to Ink Age Determination, 1996 American Academy of Forensic
  Sciences




                                                                                                        ERICH J SPECKIN




                                                                                                        EXHIBIT 1
                                                                                              Page 10 of 18 pages
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 11 of 18
          Case 5:20-cr-00240-F Document 227-9 Filed 06/17/22 Page 2 of 3



4)Interpretatlon of Data Obtained in Relative Ink Age Determination Testing, 1997 American Academy of
Forensic Sciences


5)How Do Forensic Chemists Detect 'Record Tampering'?, 1995 Michigan Lawyer's Weekly, 1995 Virginia
Lawyer's Weekly

6)Technical Report with Case Studies on the Accelerated Aging of Writing Inks, 1998 International
Journal of Forensic Document Examination, 1999 Canadian Society of Forensic Science, 1999 GFS
Hamburg, Germany

7)The Detection of Mastic on Plastic, 1996 Midwestern Association of Forensic Scientists, 1996
Southwestern Association of Forensic Document Examiners


8)More Forensic Solutions to Help Attorneys in Litigation, 1995 Michigan Lawyer's Weekly

9)Chapter in Encyclopedia of Crime &. Punishment, 2001 Textbook

10)lnk Dating Examinations, 2000 NADE journal

lljimpression by Traced Forgery, 2001 American Society of Questioned Document Examiners(co
author)

12)Response to Criticism of Technique Use in Relative Ink Age Determination, 1999 American Academy
of Forensic Sciences


13)The Dating of Writing Inks through 2-Phenoxyethanol Using Gas Chromatography-Mass
Spectrometry: Advantages, Interpretation, and Limitations 2010, AFDE (co-author)

INVITED
SPEAKER
Invited Speaker on the subject of forensic including the following groups and venues:
• Michigan State University
• American Trial Lawyers Association
• International Association of Questioned Document Examiners
• Medical Legal Consultants
• National Association of Document Examiners
• Canadian Society of Forensic Sciences
• American Academy of Forensic Sciences
• American Society of Questioned Document Examiners
• Midwestern Association of Forensic Scientists
• Southwestern Association of Forensic Document Examiners
• Medical Defense Attorneys Meetings
• Wayne County Nursing Consultants
• Various Insurance and Private Investigators Associations
• Nevada State Bar Association
• Gesellschaftfur Forensische Schriftuntersuchung E.V.(GFS) in
Hamburg, Germany

                                                                                        ERICH J SPECKIN




                                                                                         EXHIBIT 1
                                                                               Page 11 of 18 pages
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 12 of 18
            Case 5:20-cr-00240-F Document 227-9 Filed 06/17/22 Page 3 of 3



COURT
TESTIFIED
Testified In cases in Federal Court, Circuit Court, District Court, Union Arbitrations, licensing matters,
depositions. House of Representatives, and the State Board of Canvassers in Alaska, Arizona, California,
Colorado, Delaware, Florida, Georgia, Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine,
Maryland, Massachusetts, Michigan, Missouri, Nevada, New Jersey, New York, North Carolina, Ohio,
Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina, Texas, Virginia, Washington D.C.,
Washington, West Virginia, and Wisconsin. Also in Vancouver, British Columbia Canada; Monterrey,
Mexico, London, England; Jamaica; Tokyo,Japan and Hong Kong.

I have been appointed by judges in Michigan, California, Kentucky, Maine, Florida and Australia to
perform examinations at the request of the court.

I have also been retained by the Embassy of Uruguay, Florida Department of Law Enforcement,
Michigan Attorney Generals Office, Department of Natural Resources, The State Board of Canvassers,
Health Care Fraud Division, Federal Defenders Offices, National Labor Relations Board as well as many
local, county, state, and federal offices.

Other clients include General Motors, Ford Motor Company, Chrysler, Honda, NationsBank, National
Collegiate Athletic Association, National Basketball Association, National Hockey League Players
Association, as well as many others.

I have performed examinations in over 2000 cases and presented sworn testimony in 33 states and five
other countries on several levels over 200 times in total. I have worked cases from five continents and
many countries,(separate list available upon request)

NATIONAL MEDIA
APPEARANCES
• National Media Appearances including:
• Wall Street Journal (front page)
• America's Most Wanted
• The Learning Channel (Medical Detectives)
• Good Morning America
• Consulting and prop creation for CSI episodes on ink dating
• Forensic Files


PROFESSIONAL
AFFILIATIONS
• Society of Forensic Ink Analyst(Board of Directors & President) 1998-2008
• Midwestern Association of Forensic Scientists
• American Society of Testing and Materials




                                                                                          ERICH J SPECKIN




                                                                                            EXHIBIT 1
                                                                                  Page 12 of 18 pages
        Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 13 of 18
              Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 1 of 6




                   I20 N. Washinoton Square, Suite 300                Please Direct Corresronobnce & Payment Here:
                                      PMB soea                           HO C. Browaro Boulevard, Suite I700
                            Lansino. Michioan ^^8933                       Fort Laudcrdalc, Florida 3330I
                      SI7-349-352a • Fax 9S4-e39-a2l9                       9S4-7e3-ai34 • Fax gs4.a39-a2i9
                                                           www.4N6.coH


     Leonard A. Speckin                                  Erich J. Speckin                              Richard L. Brunelle
      aCTOSO OOCUMINT ANALYST                           rORENSIC OOCUMENT ANALYST                      RETUtCO MR OATINO CONSULTANT
                                                           INH OATINO SPCOAUST
                                                                                                   Dr. Laurence R. Simson M.D.
       Michael J. Sinke                                                                                RCnXEO PORENSIC mTNOLOOtST
     RCnXEO LATENT PRINT 8PCCIAUST
                                                  Rooer j. Bolhouse MBA
                                                           LASORATORV OIRCCTOR
  RCTIRtD CnUC SCENE RECONSTRUCTION                                                                     Anthony A. Milone
                                                        CRIME SCENE RECONSTRUCTION
  RCTIREO ronCHSIC OOCUMENT ANALYST                                                                    COMPUTER A GRAPHICS SPCCIAUST
                                                       rORENStC ANALYST « CONSULTANT
                                                                                                       FORENSIC DOCUMENT SPCCIAUST
     Robert O. Kullman
  RCTIREO rORCNSIC OOCUMENT ANALYST
                                                   Thomas K. Huard Ph.D.
                                                         OKA ANALYST A CONSULTANT                     Dr. Julie Howenstinc
                                                                                                                SCROIOOIST
Dr. Georoe F. Jacnson Ph.D.                                                                              ONA ANALYST A CONSULTANT
            TOXtCOLOaST
                                                           Terry Nadeau
                                                            ARSON IHVESTiaATOR                          CRME SCENE RECONSTRUCTION




                                                         June 17, 2022
Brett Behenna
Behenna Goerke Krahi 8l Meyer
210 Park Ave. Suite 3030
Oklahoma City, OK 73102

Our File Number: 20220113
Re: US v. Mayes et al.

Dear Mr. Brett Behenna,

1 am by training and experience a Forensic Document Analyst. I have been employed by Speckin
Forensic Laboratories from 1993 to the present and have been the president of Speckin Forensic
Laboratories since 1999. My primary function in my employment is the examination of
documents to determine authorship as well as when documents were created and if they have
been altered, changed, or added to.

1 received my forensic document examination education beginning in 1993 through 1995. I then
trained in the chemical analysis of inks to determine the age of documents from 1995 - 1996. 1
have a degree in Chemistry from Michigan State University.

I am the author or co-author offourteen scientific papers in the field offorensic analysis and
have testified as an expert in the field of Forensic Document Analysis in nearly four hundred
matters- both civil and criminal - in over thirty states and eleven countries. A copy of my
current Curriculum Vitae is attached as Exhibit 1. A list ofcases that 1 have presented sworn
testimony in is attached as Exhibit 2.

1 have examined many cases of created documents, composite documents and documents created
after the fact. In one very similar case 1 was able to prove that a series ofemails had been
fabricated regarding the movie rights to the movie The Last Samurai.

I am being compensated at a rate of$600 per hour. My compensation in this matter is in no way
contingent on the content of my opinion, or on the outcome ofthis matter.




                                                                                                               EXHIBIT 1
                                                                                                     Page 13 of 18 pages
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 14 of 18
            Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 2 of 6




I received the purported original questioned documents by electronically first, then I received for
examination via UPS Next Day Air(1ZR0X2974490161933). I further reviewed documents from
the dealership in Oklahoma City onsite. The examination task was to determine if the questioned
documents were created on or about their purported dates or were manufactured or created after
the fact.


Original Questioned Documents:


        Q-1     E-mail to Courtney Wells, Dated 4/5/2013
        Q-2     E-mail to Andy Elliott, Dated 3/16/2016
        Q-3     E-mail to Courtney Wells, Dated 3/16/2016
        Q-4     E-mail to Courtney Wells, Dated 8/4/2017
        Q-5     E-mail to Andy Elliott, Dated 8/4/2017
        Q-6     E-mail to Andy Elliott, Dated 8/31/2017
        Q-7     E-mail to Courtney Wells, Dated 9/3/2017
        Q-8     E-mail to Andy Elliott, Dated 2/12/2018
        Q-9     E-mail to Courtney Wells, Dated 2/12/2018
        Q-10    E-mail to Andy Elliott, Dated 4/13/2018

Documents from Purple Folder:


        K-1     1. Deal Recap - Jody Moore 12-07-2017 [Triplicated].pdf
        K-2     2. Deal Recap - Shane Bailey Sr. - 12-30-2017 [Non-triplicated].pdf
        K-3     3. Assignment of Membership Interest - Courtney Wells - 03-07-2022.pdf
        K-4     4. Travis Copley - Invoice - 12-31-2017.pdf
        K-5     5. Assignment of Membership Interest - C. Wells - 3-7-22.pdf
        K-6     6. Deal Recap - Gart Fravert 12-31-17 [TriplicatedJ.pdf
        K-7     7. OK Tax Commission - Mitsubishi l-5-2018.pdf
        K-8     8. Copy of Checks payable to Petty Cash - BRSl - 2016.pdf
        K-9     9. Notes re Browser _ Destinations.pdf

Documents from Yellow Folder:

        K-10: 1. Account Transactions - Republic Bank _ Trust - 2017.pdf
        K-11: 2. NPG, LLC-Checks-2017.pdf
        K-12: 3. Account Transactions - Republic Bank _ Trust - NPG - 2015.pdf
        K-13: 4. NPG, LLC-Checks-2016.pdf
        K-14:   5. Check Search by Payee - 10-18-2017.pdf
        K-15:   6. Check Search by Payee - 10-18-2017.pdf
        K-16:   7. NPG, LLC-Checks-2016.pdf
        K-17:   8. NPG, LLC-Checks-2017.pdf
        K-18: 9. BRSl - Fees Owed Others - 03-03-2017.pdf
        K-19: 10. Account Transactions - Republic Bank _ Trust - 2016.pdf
        K-20: 11. NPG,LLC - 2017.pdf
        K-21: 12. Account Transactions - Republic Bank _ Trust - 2016.pdf




                                                                                     EXHIBIT 1
                                                                           Page 14 of 18 pages
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 15 of 18
         Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 3 of 6




       K-22    13. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-23    14. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-24    15. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-25    16. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-26    17. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-27    18. Account Transactions   Republ c Bank     Trust   2016.pdf
       K-28    19. Account Transactions   Republ c Bank     Trust   2016.pdf

Documents in Black Folder:


       K-29: Handwritten notes



1 further received known handwriting of Courtney Wells for comparison to K-29 to determine if
the handwriting on the pages were authored by Courtney Wells or not.

Procedure:


Visual Document Examination


A visual examination ofthe documents was conducted using alternate lighting sources and
transmitted light. This included an inspection with the naked eye as well as under magnification
using a microscope.


ESDA


ESDA (Electro Static Detection Apparatus) impressions are latent impressions that are generally
left when information is written on a top page, leaving an impression or impressions on the page
or pages underneath. The ESDA is a generally (or universally) accepted tool for forensic analysis
of documents, used by police departments and forensic document analysts around the country, as
well as by the Federal Bureau of Investigation and other federal agencies. While conducting my
ESDA examinations 1 adhered to the procedures set forth by the manufacturer, the training 1 have
received in the use ofthis instrument and the American Society for Testing and Materials guide
for the examination of indentations(E 2291-03)and further detailed by SWGDOC Standard for
Indentation Examination. These procedures are generally accepted as appropriate in the field of
forensic document analysis.

ESDA examinations were performed on the front sides ofeach questioned document(Q-1
through Q-10)and the K-29 group of handwritten pages.

VSC6000


The VSC6000,among other things, uses ultraviolet light and infrared analysis techniques to
evaluate and compare inks and/or latent chemicals on documents. The VSC6000 is universally
accepted tool for forensic analysis of documents, used by police departments and forensic




                                                                                    EXHIBIT 1
                                                                          Page 15 of 18 pages
      Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 16 of 18
           Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 4 of 6




document analysts around the country, as well as by the Federal Bureau of Investigation and
other federal agencies. While conducting the VSC6000 examinations ofthe questioned
document, I adhered to the procedures set forth by the manufacturer and the training 1 have
received in the use of this instrument. These procedures are generally accepted as appropriate in
the field offorensic document analysis.

Toner Comparison by Thin-layer Chromatography

Samples of black toner were taken from each questioned document to compare the toner on each
questioned document(Q-1 through Q-10). To sample the toner, a Harris Uni-Core (0.5 mm)tool
was used to remove a small portion ofthe toner line. Four punches from each selected writing
were compared by extracting with 6 pL of pyridine for 3 minutes. Then,4 pL of each extract
was spotted on a thin layer chromatography(TLC)plate. The TLC plates was developed in a
solvent mixture of ethyl acetate, ethanol, and water (70:35:30). The samples were then compared
based on the dye separations, colors, number of bands, and relative intensities.

Results:


Visual Document Examination


After receiving the questioned documents for examination, the paper was examined for a
watermark, and no watermark was present. The questioned documents were examined for
misalignments and no misalignments were identified. Two questioned documents(Q-1 and Q-7)
were printed containing color while the other questioned documents were not printed in color. Q-
1 and Q-7 contained the logo for Big Red Sports/Imports printed color.

An alignment grid was used to examine the text within each document and compare the text, the
format ofthe emails, the headers, and the lines near the headers. No misalignments were noted
within any ofthe questioned documents. It would be difficult for a person to cut-and-paste 10
documents together with no observed misalignments.

The questioned documents were examined for photocopy printer damage. Three questioned
documents(Q-2, Q-5, and Q-9) were determined to have the same photocopy printer damage.
This is evidence that the three questioned documents were photocopied and on the same printer
and share a common source. The photocopy printer damage was compared to the submitted
documents and the same photocopy printer damage was not identified in any ofthe submitted
documents.

The options and processes for printing an email through Gmail were researched/tested. Based on
this testing it was determined that four questioned documents, Q-2, Q-6, Q-8, and Q-10, headers
and footers were redacted. When an e-mail through Gmail,there is an option to include or
exclude a header and footer. If the end user chooses to exclude the header and footer, both the
header and footer will not be printed on the e-mail. Ifthe end user chooses to include the header
and footer, the header will contain the printed date, folder the e-mail was in, and the subject of
the e-mail in the header, and the footer will contain the URL for the e-mail. On Q-2, Q-6, Q-8,
and Q-10, there is a header without the footer and the header is missing the printed date to the




                                                                                      EXHIBIT 1
                                                                            Page 16 of 18 pages
       Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 17 of 18
          Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 5 of 6




left. This is a likely reason why there is also evidence ofa photocopier being used to create the
documents as well as printers. All the other questioned documents(Q-1, Q-3, Q-4, Q-5, Q-7,
and Q-9)did not have a header and footer.

ESDA


There were no significant impressions identified on the questioned documents.

VSC6000


The questioned documents were examined and compared to one another with infrared lighting,
UV lighting, and under spot fluorescence. There were no differences identified when examined
and compared.

Toner Comparison by Thin-layer Chromatography

After examining the TLC plate, the results show at least four different toner/paper combinations.
The first is Q-3 and Q-4; Q-2 and Q-8; Q-9 and Q-10, and then Q-1, Q-5, Q-6, and Q-7.

Handwriting examinations

Based on the formative, spatial, and proportional similarities that exist between the K-29 group
of handwritten notes and the known writings of Courtney Wells that were submitted, it is my
opinion that the K-29 group of writings were written by Courtney Wells.

Further examination


Based on the photocopy damage patterns that were noted above on the three documents,a site
visit was made to observe documents that were created in the normal course ofthe dealership
and contained in the personnel files and car sales files spanning from 2013 to 2020.

The damage pattern observed in the three noted questioned documents(Q-2, Q-5, and Q-9) was
found in samples from November 2018 and not in other times frames examined.

Conclusion:


My opinion is based on the observations I made during my examinations and my ability to evaluate
these observations, based on the training and experience I have in the area of document
examination. It is my opinion that it is highly probable that:

        1. The questioned documents were not all created at the same time based on the
           photocopier damage patterns and the variety oftoner/paper combinations.
       2. The K-29 group of pages was authored by Courtney Wells.
       3. The printing alignment of the text within each email shows no evidence of cut-and-
           paste type creation.




                                                                                      EXHIBIT 1
                                                                            Page 17 of 18 pages
      Case 5:20-cr-00240-F Document 250-1 Filed 10/14/22 Page 18 of 18
         Case 5:20-cr-00240-F Document 227-8 Filed 06/17/22 Page 6 of 6




       4. The three pages (Q-2, Q-5, and Q-9) with similar photocopy damage patterns
          correspond to a copied date in or about November 2018 and no other time frames. It
          is significant to note that these three emails show different toner/paper formulations
          and were not done on the same machine at the same time.
       5. The comparison to other documents made onsite is strong evidence that at least the
          three noted emails with the observable damage patterns were created/printed in late
          2018.


These opinions are drawn to a reasonable degree of scientific certainty and based on recognized
scientific principles.



                                           Very truly yours,




                                            Erich J. Speckin
                                            Forensic Document Analyst




                                                                                   EXHIBIT 1
                                                                         Page 18 of 18 pages
